
86 N.Y.2d 776 (1995)
In the Matter of Sun Company, Inc. (R &amp; M), et al., Appellants-Respondents,
v.
City of Syracuse Industrial Development Agency, Respondent-Appellant.
Mobil Oil Corporation, Appellant-Respondent,
v.
City of Syracuse Industrial Development Agency, Respondent-Appellant.
Upstate Milk Cooperatives, Inc., Appellant-Respondent,
v.
City of Syracuse Industrial Development Agency, Respondent-Appellant.
Court of Appeals of the State of New York.
Submitted June 26, 1995.
Decided July 6, 1995.
Appeals dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that appellants are not parties aggrieved by the order of the Appellate Division (see, CPLR 5511). Cross appeal dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
